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             ATTACHMENT 1
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                      EXHIBIT A
(LODGED UNDER SEAL PURSUANT TO CIVIL LOCAL
RULE 79-5 AND STIPULATED PROTECTIVE ORDER )
